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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA
ARNOLD OIL PROPERTIES, L.L.C.,
Plaintiff
Case No.: CIV-08-1361 D

v.

SCHLUMBERGER TECHNOLOGY
CORPORATION,

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Defendant
DEFENDANT’S MOTION FOR SUMMARY JUDGMENT. OR. IN THE
ALTERNATIVE, MOTION FOR DECLARATORY JUDGMENT. AND BRIEF IN
SUPPORT THEREOF
COMES NOW, Defendant SCHLUMBERGER TECHNOLOGY CORPORATION,
and files this Motion for Summary Judgment, or, in the alternative, Motion for Declaratory
Judgment, and Brief in Support Thereof, against Plaintiff ARNOLD OIL PROPERTIES,
L.L.C. and shows this Court as follows:
I. PURPOSE OF MOTION
A. Plaintiff cannot prevail on its claims for negligence, gross negligence, and breach
of contract because the Written contract executed by both Plaintiff and Defendant indemnifles
and holds harmless Defendant against these claims asserted by Plaintiff.

B. Alternatively, if the Court does not enforce these terms Within the contract then the

Defendant Would argue that the contract limits Plaintiff’s recoverable damages to What is

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owed to the Defendant under the contract
I. PROCEDURAL AUTHORITY

Defendant contends that summary judgment should be granted based on Fed.R.Civ.P
56 since there is a valid and enforceable written agreement and no evidence that would
render its terms unenforceable

III. ADMITTED FACTS

The following numbered facts are a complete list of the material facts to which the
moving party contends no genuine issue of fact exists.

l. On March 9, 2007, Plaintiff began drilling a well in Custer County, Oklahoma.
Paragraph 5 of Plaintiff’s Complaint.

2. The well was drilled to a depth of 13,444 feet. Paragraph 7 of Plaintist
Complaint.

3. Plaintiff contacted Defendant on May 3 l, 2007 concerning the providing of cement
services to its well. Paragraph 9 of Plaintist Complaint.

4. Plaintiff entered into a an enforceable contract with Defendant for cement services
to Plaintiff’s well (the “Contract”). Allegation in paragraph 39 in Defendant’s Answer to
Plaintiff’ s Complaint and admitted in paragraph l of Plaintiff’s Answer to Defendant’s
Counterclaim. The Contract is attached hereto as Exhibit “A".

5. Scott Thompson is Chief Operating officer for Plaintiff. Exhibit “B”, p. l4:l-l4

from the deposition transcript of Scott Thompson.

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6. Mr. Thompson testified that the Contract covered the services provided by
Defendant to Plaintiff on June 2, 2007. Exhibit “B”, pgs. 1021 15-25; 103:1-9.

7. Mr. Thompson knew in advance of June 2, 2007 that such a Contract with terms
and conditions would be presented by Defendant to Plaintiff for execution. Exhibit “B”, p.
104: 2-7.

8. Steve Kester was Plaintiff s well site representative and had authority to execute
contracts presented by Defendant. Exhibit “C”, p. 58:14-21.

9. Mr. Kester read the front page of the Contract and executed it on June 2, 2007.
Exhibit “C”, pgs. 157: 17-25, 1581 l-10, 128: 10-16.

10. On June 2, 2007, the cement job to Plaintiff’ s well was completed. Paragraph 24
of Plaintiff’ s Complaint.

ll. Plaintiff filed this lawsuit on December 18, 2008, complaining about the cement
services provided to it by Defendant on June 2, 2007 .

IV. CONTRACT PROVISIONS

A. The Contract Indemnifies and Holds Harmless Defendant From and Against All
Claims

l. Within the Contract signed by Plaintiff, there are at least three provisions
addressing Plaintiff’s agreement to indemnify and hold harmless the Defendant from all
claims. They are contained within the “General Terrns and Condition” which are highlighted
on the front of the Contract and printed in bold and all-capital letters on the back of the

Contract.

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First, under paragraph 9, entitled “INDEMNITIES,” at subpart (a)(2), it states:

CUSTOMER SHALL BE RESPONSIBLE FOR AND HEREBY
AGREES TO PROTECT, DEFEND, INDEMNIFY AND HOLD
HARMLESS SCHLUMBERGER GROUP AND ITS INSURERS FROM
AND AGAINST ALL CLAIMS ARISING OUT OF OR IN
CONNECTION WITH DAMAGE TO OR LOSS OR DESTRUCTION
OF PROPERTY...ARISING OUT OF OR IN CONNECTION WITH
THE CONTRACT OR THE SERVICES PROVIDED HEREUNDER...

(emphasis added) .

2. Then, again, the Contract speaks to the fact that Plaintiff is holding the
Defendant harmless against all claims for “property damages or loss that result from reservoir
or underground damage.” This can be found at paragraph 9(b) of the Contract signed by
Plaintiff, part of which is as follows:

CUSTOMER ASSUMES ALL LIABILITY FOR AND AGREES TO

PROTECT, DEFEND, INDEMNIFY, AND HOLD SCHLUMBERGER

GROUP AND ITS INSURERS HARMLESS FROM AND AGAINST

ALL CLAIMS ARISING OUT OF OR IN CONNECTION HEREWITH

FOR...(III) PROPERTY DAMAGE OR LOSS THAT RESULT FROM

RESERVOIR OR UNDERGROUND DAMAGE, INCLUDING LOSS OF

OIL, GAS, OTHER MINERAL SUBSTANCES, OR WATER OR THE

WELL BORE ITSELF...

(emphasis added).

The very essence of Plaintiff"s Complaint is that Defendant’s services caused
underground damage and an inability to enter a certain reservoir forcing Plaintiff to conduct
alternative procedures to correct the damage and enter the reservoir. See Plaintiff" s

Complaint at paragraphs 26-28.

3. Lastly, paragraph 9(c) of the Contract signed by Plaintiff reaffirms the

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provisions in subparts (a) and (b) above and tells the Plaintiff, again, that it is relieving the
Defendant of all liability and damages related to the services under the Contract. lt is set
forth below:
Application of Indemnities: THE ASSUMPTION OF LIABILITY AND
INDEMNITIES IN PARAGRAPHS (a) AND (b) ABOVE SHALL APPLY
T 0 ANY LOSS. DAMAGE...OR CLAIM ARISING OUT OF OR IN
CONNECTION WITH THIS CONTRACT OR THE SERVICES
PROVIDED HEREUNDER WITHOUT REGARD TO THE CAUSE(S)
THEREOF INCLUDING, WITHOUT LIMITATION...THE SOLE,
JOINT, CONCURRENT OR GROSS, ACTIVE OR PASSIVE,
NEGLIGENCE OR OTHER FAULT OF THE INDEMNITEE OR ITS
CONTRACTORS OR SUBCONTRACTORS OR ITS OR THEIR
EMPLOYEES, AGENTS, REPRESENTATIVES OR INVITEES.
(emphasis added).
B. Front of the Contract Alerts Plaintiff to Indemnity Provisions
As the Court can see, the front of the Contract explicitly tells the Plaintiff that
“INDEMNITY & HOLD HARMLESS PROVISIONS REQUIRING CUSTOMER AND
SCHLUMBERGER TO BE RESPONSIBLE FOR THE NEGLIGENCE, STRICT
LIABILITY, OR FAULT OF THE OTHER.”
C. Indemnig is Mutual
The indemnity within the Contract is not solely for the benefit of the Defendant. In

paragraph 9(a)(l) of the Contract, the Defendant is indemnifying Plaintiff from liability

arising out of the services provided.

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V. LEGAL AUTHORITY

A. Oklahoma Substantive Law ADDlies

“A federal court sitting in diversity...must apply the substantive laws of the forum
state.” Vitkus v. Beatrice Co., 127 F.3d 93 6, 941 (10th Cir. 1997). Oklahoma law mandates
that a contract will be governed by the laws of the state where the parties entered into the
contract. Williams v. Shearson Lehman Bros., Inc., 917 P.2d 998, 1002 (Okla. App. 1995).
The Contract was signed and executed in Oklahoma, and should therefore be governed by
Oklahoma’s substantive laws.
B. Intent of Parties as Expressed in Contract Controls

The general rules of contract interpretation apply to the interpretation of an indemnity
contract. Otz`s Elevator Co. v. Midlana’ Red Oak Really, Inc. 483 F.3d 1095 , 1101 (10th Cir.
2007). “lndemnity agreements are valid agreements and are governed by statute in
Oklahoma.” Ia’. (citing OKLA. STAT. TIT. 15 §§ 421-429 (1993)). The Court must give effect
to the intent of the parties as expressed in the Contract. Ia’. Oklahoma law states that when
examining a Contract, the Contract “must be so interpreted as to give effect to the mutual
intention of the parties, as it existed at the time of contracting, so far as the same is
ascertainable and lawf`ul.” Cossey v. Cherokee Nation Enters., L.L. C., 2009 WL 146685, at
* 17 (Okla. Jan. 20, 2009) (citing OKLA. STAT. TIT. 15 § 152 (2001). “The whole of a contract
is to be taken together, so as to give effect to every part, if reasonably practical, each clause

helping to interpret the others.” Id. (citing OKLA. STAT. TIT. 15 § 157 (2001)).

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Examination of the Contract between Plaintiff and Defendant gives an unequivocally
clear reading of the intention of the parties at the time of contracting The indemnity
provisions are in all-caps, emboldened, and clearly titled in the body of the Contract.
Moreover, the signature page refers the signer to the indemnity provisions in the body of the

Contract.

C. Indemnigg Provisions are Valid and Enforceable in Oklahoma

Under Oklahoma law, where the intent of indemnification is unequivocally clear from
the examination of the Contract, such agreement is enforceable Fretwell v. Protection
Alarm Co., 764 P.2d 149, 152-53 (Okla. 1988). In a contract indemnifying a party from its
own negligence, the provision “will be strictly construed and must meet three conditions: (1)
the parties must express their intent to exculpate in unequivocally clear language; (2) the
agreement must result from an arm’s-length transaction between parties of equal bargaining
power; and (3) the exculpation must not violate public policy.” Otl`s, 483 F.3d at 1101.

In Fretwell, the Supreme Court of Oklahoma upheld an indemnity provision in a
contract between an alarm company and a homeowner which indemnified the defendant
alarm company against any claims resulting from its negligence The language of the
contract provided that “[s]ubscriber agrees to indemnify, defend, and hold Protection
(defendant) harmless from any and all claims and lawsuits...whether these claims are based
upon...negligence..on the part of Protection, its agents, servants, or employees.” Ia’. The

plaintiff homeowners challenged the provision, claiming that the indemnity clause Was

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unenforceable because it sought to indemnify from one’s own negligence The Court upheld
the indemnity provision, stating:

Broadly speaking, a promise of indemnity for the performance of an act not

illegal, immoral, or against public policy is valid...[l]t is now the prevailing

rule that a contract may validly provide for the indemnification of one against,

or relieve him from liability for his own future acts of negligence provided the

indemnity against such negligence is made unequivocally clear in the contract
Id. (citing 41 Am. Jur. 2d Indemnily § 9 (1968)).

As to the first requirement for a valid indemnity agreement, the language of the
indemnity provisions in the Contract executed by Plaintiff and Defendant is almost identical
to the language in Fretwell. The Contract expressly provides that Plaintiff agrees to protect,
defend, indemnify, and hold harmless Defendant against all claims arising out of the Contract
or services. Moreover, the contemplation of simple or gross negligence as a future damage
for which indemnity will apply is made unequivocally clear in the Contract.

As to the second requirement, the Court must consider the equality of the contracting
parties’ bargaining power by “first assessing the importance of the subject matter to the
physical or economic well-being of the party agreeing to the release,” and second, “the
amount of free choice that party could have exercised when seeking alternate services.”
Mannz`ng v. Brannon, 956 P.2d 156, 159 (Okla. Civ. App. 1997) (citing Schmz'a’t v. U.S., 912
P.2d 871 (Okla. 1996)) (internal quotations omitted). Defendant is not aware of any evidence

at the time suggesting that Plaintiff’ s economic well-being depended on the cement services,

and that Plaintiff had no choice but to use the Defendant

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Lastly, indemnity provisions may not violate public policy. Otz`s, 483 F.3d at 1101.
That is, they may not “injure public morals, public health or confidence in the administration
of the law nor destroy the security of individuals’ rights to personal safety or private
property.” Id. The indemnity provision in the Contract between Plaintiff and Defendant was
contracted between two business entities and there is no evidence that its enforcement would
negatively effect public morals, health, or security of individual’s rights. This Contract
concerns a service performed by one corporation for another and has no effect on public
policy.

VI. DECLARATION THAT DAMAGES ARE LIMITED

A. Parties Agreed to Limit Damages in this Contract

lf the Court finds the hold harmless provisions of the Contract unenforceable
Defendant, in the alternative, seeks declaratory relief under the Federal Declaratory Judgment
Act, 22 U.S.C §§2201-2202. Defendant would ask the Court to declare that Defendant’s
exposure to damages is limited to the amount of the unpaid consideration for the services
provided to Plaintiff by Defendant under the Contract. In the Contract executed by the
parties, Exhibit “1,” Plaintiff agreed in paragraph 12 to limit its damages as follows:

12. LIMITATION OF LIABILITY: Notwithstanding anything to the

contrary herein, except as provided under Paragraph 9(a)1 (Personal and

Property Indemnities), Schlumberger’s liability arising from or in connection

with this Contract (whether for indemnity, breach of contract, negligence

misrepresentation, or otherwise) shall not in any circumstances exceed the full
value of the consideration owed to Schlumberger under this Contract.

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B. Clauses Limiting Damages are to be Enforced in Ol_<l_ahoma

As a general rule of contracts, the contracting parties can by agreement limit their
liability in damages to a specified amount at the time of making their contract. See
Restatement of Contracts, § 339; Fretwell, 764 P.2d at 152. In Frelwell, the Court upheld
a limitation of liability provision in the contract between the alarm company and the
homeowners who were burglarized due to the alarm company’s alleged negligence The
Court stated that the contract established a common law duty to perform with care, skill,
reasonable expediency, and therefore it reasonably follows that since the contract established
that duty, any lawful limitations in the contract may also limit the liability of the tortfeasor.
Id. at 151. The contract established a duty to the promisee homeowners but it also limited
the liability of the promissor and these limitations were clearly within the contemplation of
the parties to the agreement Id. The Court upheld the limitation of liability provision as
neither unconscionable nor against public policy. Ia’. at 152.

Therefore, the limitation of liability provision in the Contract should be enforced,
because under Oklahoma law parties can contractually limit their liability in damages. Per
the Contract, Defendant’s liability in damages, if any, should be limited to the amount of the
unpaid invoice or consideration for the services provided to Plaintiff by Defendant under the
Contract.

VII. PRAYER

WHEREFORE, Defendant Schlumberger Technology Corporation prays for summary

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judgment in its favor and dismissing each of Plaintiff’ s claims against this Defendant, or in

the alternative a declaratory judgment limiting the liability in damages recoverable from this

Defendant, and for such other and further relief at law, or inequity, to which this Defendant

may be justly entitled.

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Respectfully submitted,

HARGIS & HARPOLD, L.L.P.

/s/ Grant P. Harpold

GRANT P. HARPOLD

Southern Federal District ID No. 10596
2 Riverway, Suite 1020

Houston, Texas 77056

(713) 751-0800 Telephone

(713) 751-0105 Facsimile

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OBA#l 1790

124 East Fourth Street, Suite 100

Old City Hall

Tulsa, Oklahoma 74103

(918) 583-9922 Telephone

(918) 584-2729 Facsimile

ATTORNEYS FOR DEFENDANT

SCHLUMBERGER TECHNOLOGY
CORPORATION

ll

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CERTIFICATE OF SERVICE

I certify that on this 3rd day of September, 2009, l electronically filed a true and correct
copy of this document with the Clerk of Court using the CM/ECF system, which will send
a notification of such filing to the following ECF registrants:

Mr. Thomas G. Wolfe

Phillips Murrah, PC

Corporate Tower | Thirteenth Floor
101 N. Robinson

Oklahoma City, Oklahoma 73102

/s/ Grant P. Harnold
GRANT P. HARPOLD

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KESTER, STEVE

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Camott, Christian

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EXHIBIT A

GENERA¥TERMSAND COND'T@~ase 5:08-cV-01361-D Document 33 Filed 09/03/09 Page 14 of 29

Revised 0_1‘/01/06

 

THE F01LOWllll0 GENERAL `lERMS AND CDNDlTlDNS OF THlS CONTRACT CONTA|N |NDEMN|TY
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Acceptance. By rec ng Sc blumbe.
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Definitions.

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independent Contractor. Schlumberger is and shall be an independent contractor with respect to the performance
of die services set forth on this service Contract, and neither Schlumberger nor anyone employed bv Schlumberger
shall be the agent, representative er lovee or servant of Customer iri the performance of such serv as or any part
hereof When Contractor`s employees idefined to include Schlurnbarger's directl borrowed special or statutory
employees`l are covered by the Louisiaiia Woriiers` Compensation Act, 1a R§S. 23:‘\021 et sen_., Customer and
Schlumberger agree that ali work and operations performed by Schlumberger and its employees pursuant to this
Contra are an integral part of and are essential to the ability of Crrstomer to generate Custnmer‘s goods. products
and services for purposes of la li. S. 23;1061 lAllll Furtherrnore. Customcr and Sclr lumberger agree that Custorncr is
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Schlumberg .er shall ain priniarrry re. sible for the payment of Lo ana workers compensation benefits to its
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0bligations of Customer

falwell Copdition§ Ngtillgatign of _H_aza_rdp_rrs Con ditions. Customer. having custody and con rol of the well and
superior knowledge of the contl s in and suirround rig rt shall provide Schlumberger with all necessary
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good to on 1 ns normally encountered in the well bore however if' hazardous or unusual

-. riu_ions exisr, §ustnmcr shall notify Schlumberger in advance and make special arrangements for servicing such
wells

(b) §hemical § The hand"ng and disposal cl any chemical waste or by-prorluct used or resulting from Coritractor's
pen Fcrirranoo of its services hereunder (' Chernicalsi become the sole responsibility of Customer when such
C'ricrnicais are returned to the surface of the land or sea from below the rotary table Custonter understands and
agrees that the Cheinicals are the property cf Customer and that Custorner is the owner of the Clio "‘=ls.
Ciisromer agrees that rt will transport and dispose of any such Chemicals m accordance with all applicable
fe ral, state and local laws and regulations Customer hereby waives releases and agrees not to assert any
claim or bring any cost recovery action against Schlumberger in connection with the use. generation storage
transportation or disposal of Chernicals under any common law theories or federal state or local environmental
laws or regulationsl now existing or hereinafter enactedx without regard to the cause or causes thereof or the
negligence of any party

(c) Radinactivg Sggrges. if any radioactive source is lost in a well. at the well site, while being transported by
Cusiumer or a third party orr behalf 01 Custonier, 0er ne under the custody or control of Customer, Customer shall
exert its best efforts to recover the source and shall take precautions in order to avoid breaking or damaging the
source if the source is not recovered or if the container is broken, Customer shall immediately comply with all
applical le laws and regulations including the isolation and mar king of the location of `the source

(d) Fislring gperatians. Customer shall assume the entire responsibility for operations in which Custorner or its

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requested by C c

Warranty for Frodui:ts and Servir:es.

(a) Scll|uinhorgerr' epresents and warrants that all services provided hereunder shall be performed in a good and
workmanlike manner in accordance with good oilf§ eid practices and that it shall exercise diligence to insure the
correctness and safe transport of all lo t stand o- -ber data Schlumberger will give Customer the benefit of its
best judgment based on is experienc erpreting information and makingl written or oral recommendations
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TMEREUNDER lEXCEPl AS 1’0 TlTLE) ARE SU|.ELV AND F.XCLUSIVELY AS STATED HEREIN.

able Schlumc ger to perform its services safely and efficiently Schlumberger's equipment is "

   

 

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Tille and Rislt of Loss
(a) Unless otherwise agreed between the parries, title to and risk of lous‘ or products sold will pass to C=.rstrir per ex
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insurance rests from he time otr‘ rel:vec,r Customeraoreesthat itletoe. cr of .oss ror pro` cts'v‘iill pas
and remain with C'u orrrcr, oven if Sclilurrb er jcr agr ccs to store the products ar a Sch )orgei location until
Custcn\er requests del - ,

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received and accepted by Schlumberger

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OR DEATil 0F Ale MEMBER DF SCHLUMBERGER GROUP lJR lTS SUBCONTRAC¥ORS. AGENTS REPRESENTAT|VES
00 lNVlTEES AR|SlNG DUT OF 011 IN GDNNECTlUN WiTll THlS CONTRACT 00 THE SERV|CES PROV|UED
HEREuNoEn
2. CUSTOMER SHALL BE BESPONSlilLE FDR AND HEREBV AGREES T0 PRoTECT. DEFEND, lNDEMNlFY AND HOLD
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CON'|`RADT 00 THE SERV|CES FROVIDED HEREUNDER.
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FERFURMED 10 CON|’ML A WlLD WELL; fll) PROPERTV DAMAGE 00 LOSS THM RESULTS FllOM POLl.UTlON.
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REPRESENTAT|VES 00 lN\IlTEES
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this Contract conflicts wirh. is prohibited by or violates public policy under any federal state or other law
deterrr‘ ed to he applicable to a particular situation arising from or involving any services equipment and/or
products hereunder, rt is understood and agreed that the conflicting prohibited or violating provision shall be
denmr'd automatically amended in that situation to the extent but only to the extent necessary to conform with,
nor prohibited by and avoid violating public policy under such applicable law

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DR OTHER FAUlT OF SCHLHMBERGER.

insurance Each party as indemnitor, agrees to support the indemnity obligations it assumes under Paragraph 9, by
obtaining at its own cost, adequate insurance for the benefit of the other party as indemnltee, with comr ,trral
indemnity endorsements lo the extent each party assumes liability hereunder such insurance shall waive
subrogation against the indemnified Group and its insurers end name the indemnified Group as additional insuredl$l
and loss payee and to the same extent such coverage shall he primary to that carried by the indemnified (` cup
Custuiner shi!' not self insure wi oct the written consentot' Schlumberger

   

Limita\ion of Liability. Notwillrs'randi ng anything to the contrary her ein except as provided under Paragraph 9.
rabiiity arising from or in connection wrth this Contract lwliather‘ ior indemnity, b ach of
isrepresentation or otherwise) shell not in any circumstances exceed the full vali.e of the
chris deration owed to Schlumberger under this Contract

  
 

 

Employee Sulicitation Exce_r)t with the prior written consent of Schlumberger Cuslomer shall nol directly
indirectly cr through rhl rd parties so recruit or induce lrlumberger employee consultant or representative to
leave. terrr te or otherwise end his/her association wi h Sc , imberger in oro er to become an employee consultant
or repre. nra ve of Customer until at least one 111 year nas elapsed from Customer's receipt of the final :nyoice for
the services

    

 
   

Miscel|aneous. Schlumberger shall nut be liable for any delay or nonperformance due to governmental regulatiori.
labor disputes hostile action weather fire, acts of God or any other causes beyond the reasonable control of
Schl mberger. lf services are performed or equipment or products fur chad offshore or on nav ga`cle water Fcr:lera|
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laws otic.>ras shall ap , otherwise the law the stqu where the services are r orfcrmed or equipment or products
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such holding shall not invalidate the remainder and the Ter'ms and Conoi!rr)ns shall be interpreted as lf

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purporting to limit such provision

    
      

 
    

 

 

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T0 ALTER THESE GENEHAL TEHMS AND CDND\‘UONS.

Tulsa, Oklahoma 74103
918-599-0507

MlD-CONTINENT TOWER
401 South Boston, Suite 310

depo@drreporting.com

REPORTING & VIDEO, INC.

405-235-4]06

ROBINSON RENAISSANCE
119 N Robinson, Suite 650
Oklahoma City, Oklahoma 73102

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Case

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ARNOLD OIL PROPERTIES, L.L.C.,

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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF OKLAHOMA

Plaintiff,
NO. CIV-08-1361-D

SCHLUMBERGER TECHNOLOGY
CORPORATION,

VVVVV\/vvv`/

Defendant.

DEPOSITION OF SCOTT THOMPSON
TAKEN ON BEHALF OF THE DEFENDANT
IN OKLAHOMA CITY, OKLAHOMA

ON JULY 28, 2009

COPY

EXHIBIT B

REPORTED BY: KASEY D. EGELSTON, CSR

 

 

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Q Mr. Kester identified you as kind of
the operations manager. Would that be a title
that you carried also?

A That would be fair.

Q But you.were also the chief operating
officer?

A Yesi

Q Did you have both titles when you came
back in 2006? v

A Yes. 1 mean, we're a small company. I
think my title on my card says "chief operating
officer." We don't have a lot of employees or a
lot of positions, so I guess that's a fair

statement.

 

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Q (By Mr§ Harpold) Let me show you
Defendant’s Exhibit 2 and ask if you'Ve seen
that document before.

(Defendant's Exhibit Number 2 was'
marked for identification purposes
and made a part of the record)

THE WITNESS: Yes, I have.

Q (By Mr. Harpold) What is your
understanding as to what Defendant’s Exhibit 2
is?

A This is the document that you need --'

 

D&R Reporting & Video, Inc. (800) 77l-1500

 

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that the company man or the company supervisor
on location executes before Schlumberger will
perform a given job.

Q That's the contract for the services to
be provided by Schlumberger on June 2, 2007?

A Yes. It's labeled a contract. I know
-- I mean, as someone that's worked in the
field, I just know it's something that you have

to sign or they won't do it.

 

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that is correct.

Q You knew that before Schlumberger ever
even came out there to do the work, that they
would require a contract like Defendant’s
`Exhibit 2 to be executed, with the terms and
conditions as part of it?

A Yes.

 

‘ Case 5:08-cV-01361-D Document 33 Filed 09/03/09 Page 20 of 29

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KESTER,STEVE

 

 

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DEFENDANT’S

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C E R T I F I C A T E

STATE OF OKLAHOMA )

COUNTY OF OKLAHOMA )

I, Kasey D. Egelston, a Certified Shorthand
Reporter for the State of Oklahoma, certify that
SCOTT THOMPSON was by me sworn to testify the
truth; that the deposition was taken by me in
stenotype and thereafter transcribed by computer
and is a true and correct transcript of the
testimony of the witness; that the deposition
_was taken by me on July 28, 2009, at 10:00 a.m.,
at 101 North Robinson, 13th Fioor, Oklahoma
City, Oklahoma; that 1 am not an attorney for or
relative of either party, or otherwise
interested in this action.

Witness my hand and seal of office on this

4th_day of August 2009,

”"“f"_/ kAsEvEeasmu --
wmacemdshomandnepuler
Cenii®ie No. 1875
Exp. Date: December 31, 2010
Kasey D. Egelston, CSR
Oklahoma Certified Shorthand
Reporter, CSR # 1875

 

 

 

D&R Reporting & Video, Inc. (800) 771-1500

 

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IN THE UNITED STATES DISTRICT COUR'I'
FOR THE WESTERN DISTRICT OF OKLAHOMA

ARNOLD OIL PROPERTIES, LLC,

)
_ _ )
Plalntlff, )
) CASE NO .

VS. § CIV-08-1361-D
SCHLUMBERGER TECHNOLOGY )
CORPORATION, §
Defendants. )

DEPOSITION Ol-"` STEVE KESTER
TAKEN ON BEHALF OF THE DEFENDANT
IN OKLAHOMA CI'I`Y, OKLAHOMA
ON JULY l, 2009

EXHIBIT C

REPORTED BY: MICHELE WATSON, CSR

 

 

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STEVE KESTER - July 01, 2009

 

 

Q As Arnold's well site representative,
you did have authority to order services like a
ncement job from Schlumberger?

A YeS.

Q You had the authority to execute
delivery tickets and contracts that would have
been presented to you by Schlumberger?

A Yes.`

 

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Case 5:08-cV-Ol361-D Document 33 Filed 09/03/09 Page 25 of 29 ag
STEVE KESTER - July 01, 2009

 

 

Q You're calling it a ticket, the
document is entitled a contract. You were
presented the document for the services provided
by Schlumberger to Arnold on June 2nd and you
signed it with that understanding?

A That this is what they did.

Q This contract reflects what
Schlumberger did for Arnold on June 2, 2007,

correct?

 

 

CRC FOR BILL MCFERRON, CSR
214.954.0352

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STEVE KESTER - July 01, 2009

 

 

A Yes.

Q If I understood your testimony also,
the screen that was presented to you for signature
contained the page that's reflected here as Arnold
29, part of Exhibit 7?

A Correct.

Q Did you read the entire screen that
contains the information presented here in
Arnold 29, Exhibit 7 before you signed it?

A YeS.

CRC FOR BILL MCFERRON, CSR
214.954.0352

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Page 128
STEVE KESTER - July 01, 2009

 

Q

the document

A
Q

document?

A

Go to Arnold 29 in Exhibit 7, which
is entitled "Contract."

Do you see that?

Yes.

Is that your signature on that

YeS.

 

 

CRC FOR BILL MCFERRON, CSR
214.954.0352

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THIS 18 A CONTRACT FOR GOODS AND SERV|CES TO BE PROVIDED PURSUANT TO THE MASTER

SERVI'&E AGREEMENT BETWEEN CUSTCMER AND

SERV|,CE AGREEMENT, CUSTQMER AND SCHLUMBERGER AGREE THE GOODS AND SERV!CES ARE
PROV|PED PURSUANT TO THIS CCNTRACT, |N LU

CF ACH D TO THlS CON

CT WH|CH CONTA|N WARRANTY EXCLUS|ONS AND fNDEMN|TY
& HOLD HARMLESS PROV!S|ONS REQU|R|NG CUSTOMER AND SCHLUMBERGER TO BE RESPONS|BLE
FOR THE NEGL|GENCE, STRICT L|AB!L|TY DR FAULT OF THE OTHER.

CAN PROV!D GOODS OR SERVlCES.
SCHLUMBERGER lN THE ABSENCE OF A MASTER

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l authorize work w begin az ssi ionh in this Contract and represent than haw the authority of the customer to accept and sign this

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STEVE KESTER - July 01, 2009

 

CERTIFICATION

STATE OF OKLAHOMA )
COUNTY OF OKLAHOMA §

I, MICHELE WATSON, Certified Shorthand
Reporter within and for the State of Oklahoma, do
hereby certify that the above-named STEVE KESTER
was by me first duly sworn to testify the truth,
the whole truth, and nothing but the truth in the
case aforesaid, and that the above and foregoing
Deposition was by me taken in shorthand and
thereafter transcribed, and the same was taken on
July 1, 2009, at 10:00 a.m. at 101 North Robinson,
in Oklahoma City, State of Oklahoma, in pursuance
of and under the stipulations hereinbefore set
out, and that 1 am not an attorney for the parties
or a relative of either of said parties or
otherwise interested in the event of said action.

IN WITNESS WHEREOF, I have hereunto set my
hand and seal this 11th day of July, 2009.

MICHELE WATSGN, @ERTIFIED
SHORTHAND REPORTER FOR THE
STATE OF OKLAHOMA

Oklahoma CSR No. 1771

My Commission Expires 12/31/09

 

 

CRC FOR BILL MCFERRON, CSR
214.954.0352

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